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                     IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TEXAS
                              SHERMAN DIVISION

   UNITED STATES OF AMERICA                           §
                                                      §           No. 4:20-CR-212 ALM/KPJ
   v.                                                 §
                                                      §
   DEBRA LYNN MERCER-ERWIN (1)                        §

                      PRELIMINARY ORDER OF FORFEITURE

        The defendant, Debra Lynn Mercer-Erwin, was found guilty by a Jury as to

  Counts One, Two, Four and Seven of the Fifth Superseding Indictment which included a

  Notice of Intention to Seek Criminal Forfeiture pursuant to 18 U.S.C. § 982(a)(1); 21

  U.S.C. §§ 853 and 970; and 28 U.S.C. § 2461.

        The United States has filed a Motion for Preliminary Order of Forfeiture which

  would consist of a money judgment against the defendant in the amount of $50,000,000.

        Rule 32.2(c)(1) provides that Ano ancillary proceeding is required to the extent that

  the forfeiture consists of a money judgment.@

        IT IS ORDERED, ADJUDGED AND DECREED THAT:

        1.     The defendant, Debra Lynn Mercer-Erwin, shall forfeit to the United States

  the sum of $50,000,000 which shall be a money judgment representing the proceeds of

  the offenses to which the defendant has been found guilty by the jury, pursuant to 18

  U.S.C. § 982(a)(1); 21 U.S.C. §§ 853 and 970; and 28 U.S.C. § 2461.

        2.     This order shall become final as to the defendant at the time of sentencing,

  and shall be made part of the sentence and included in the judgment, pursuant to Fed. R.
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      Crim. P. 32.2(b)(4).

             3.     The United States may, at any time, move to amend this order of forfeiture

      to include substitute property having a value not to exceed $50,000,000 to satisfy the

      money judgment in whole or in part.

             4.     Because the forfeiture consists of a money judgment, no ancillary
.
      proceeding is necessary, pursuant to Fed. R. Crim. P. 32.2(c)(1).

             5.     The United States District Court shall retain jurisdiction in the case for the

      purpose of enforcing this Order.


             So ORDERED and SIGNED this 9th day of May, 2023.




                                                 ____________________________________
                                                 KIMBERLY C. PRIEST JOHNSON
                                                 UNITED STATES MAGISTRATE JUDGE
